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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

UNITED STATES OF AMERICA,           )
                                    )
            v.                      )                 Case No. 1:21-cr-245-AJT-1
                                    )
IGOR Y. DANCHENKO,                  )
                                    )
                  Defendant.        )
____________________________________)

                                             ORDER
        Pending before the Court is the Government’s Consent Motion to Adjourn the Classified

Discovery and CIPA Schedule [Doc. No. 44] (the “Motion”). Upon consideration of the Motion,

it is hereby

        ORDERED that the Government’s Consent Motion to Adjourn the Classified Discovery

and CIPA Schedule [Doc. No. 44] be, and the same hereby is, GRANTED, and the following

pretrial deadlines shall apply:

        Deadline to produce classified discovery:                    May 13, 2022

        Government’s Section 4 filing:                               May 31, 2022

        Ex parte Section 4 hearing:                                  June 8, 2022

        Defendant’s Section 5(a) written notice:                     June 22, 2022

        Government’s response to defendant’s Section 5(a):           July 12, 2022

        Defendant’s reply:                                           July 19, 2022

        The Clerk is directed to forward copies of this Order to all counsel of record.




Alexandria, Virginia
March 23, 2022
